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LAWS

TERRITORY OF HAWAII

PASSED BY THE

TWELFTH LEGISLATURE

REGULAR SESSION
1923.

COMMENCED ON WEDNESDAY, THE TWENTY-FIRST
DAY OF FEBRUARY, AND ENDED ON THE
SECOND DAY OF MAY.

PUBLISHED BY AUTHORITY

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1923

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EXHIBIT “D”
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Act 156] SALE on TRANSFER OF FirrarMs. 185

of boundaries, or by decree of a court of competent jurisdiction
of the territory”.

Section 2, Section 2, 3 and 4 of Act 208 of the Session Laws i
of 1919, are hereby amended by amending the date “July 1,
1923” whetever it appears in said sections to read “July 1; 1925”,

“Secrion 3. This Act shall take effect upon its approval,

Approved this 2nd day of May, A. D. 1923.

W. R. FARRINGTON,
Governor of the Territory of Hawaii.

ACT 156° =

[H. B. No. 428.) :

AN ACT vo Amenp Secrion 2202B or tur Revisep Laws or
Hawai, 1915, as AMENDED, ConceRNING TIE SALE or
TRANSFER AND TILE ACQUISITION OF FIREARMS.

Deut Enacted by the Legislature of the Territory of Hawaii:

Section 1. Section 2202B of the Revised Laws of Hawaii,
1915, as enacted by Section 1 of Act 124 of the Session Laws
of 1919, and as amended by Section 1 of Act 244 of the Session
Laws of 1921, is hereby amended to read as follows:

“Section 2202B. Any person dealing in firerams or pistol or
revolver ammunition shall not make an individual or retail sale
of any such article unless the person desiring to acquire such
article shal! have first obtained from: the sheriff ar deputy sheriff
of the county or city and county in which he may be at the
time a written permit to acquire such article. Vhe person desir-
ing fo acquire such article shall deliver said written permit to
the dealer, and if the stle or iransfer is affected, the said dealer
shall make a written statement, in duplicate, of such sale or trans-
fer, setting forth the name, address anid nationality of the person
acquiring such article and a full anct complete description of such
article, The person acquiring such article shall personally sign
such statement, in duplicate. One copy of such statement shall,
immediately after the delivery of such article be transmitted to
the sheriff or deputy sheriff of such county or cily and county,
and one copy of such statement shall be retained by the said dealer.

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186 Discontinuinc Benerit To Joun Jarpin. [Act 157

No such article shall be delivered to the person desiring to ac-
quire the same on the day in which the transaction for the sale or
transfer thereof is made.

Any person who shall violate any provision of this section and
any person who shall acquire any of the articles from the afore-
said dealer without having first obtained the permit aforesaid, or

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4 :
a without having personally signed the statement of sale or trans-
= fer aforesaid, shall be guilly of a misdemeanor and upon con-
&: viction thereof shall be punished by a fine of not more than five
¢ hundred dollars ($500.00) or by imprisonment for a term of
not more than one year, or by both such fine and imprisonment.
. Any person furnishing information leading to the conviction
: of any person violating any provision of this section shall be
f paid an amount equal to one-half of the fine that may be imposed
; against the person convicted.”

< Section 2. This Act shall take effect upon its approval.

3 Approved this 2nd day of May, A. D. 1923.

iis W. R. FARRINGTON,

i Governor of the Territory of Hawaii.
ue

: ACT 187 “

. [H. B. No. 430.]

i AN ACT RepeaLine Act 215 or rug Sxssion Laws or 1919,
* MAKING AN APPROPRIATION FoR THE Beyerit or JOHN
JARDIN.

i Be it Enacted by the Legislature of the Territory of Hawai:

ds Section 1. Act 215 cf the Session Laws of 1919, making an
a appropriation for the benefit of John Jardin, is hereby repealed.
i - . ,
‘ Section 2. This Act shall take effect on July 1, 1923.

2 Approved this 2nd day of May, A. D. 1923.

& W. R. FARRINGTON,

% Governor of the Territory of Hawaii.
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